                         UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In re:                                      )
                                            )      Case No. 17-17245
CHOWDER GAS AND STORAGE                     )
FACILITY LLC,                               )      Chapter 11
                                            )
                       Debtor.              )      Judge Arthur I. Harris
                                            )


              NOTICE OF SUBSTITUTION OF COUNSEL FOR RECEIVER


         Now comes Rachel L. Steinlage, Esq., and hereby withdraws her appearance on behalf of

Zachary B. Burkons of Rent Due, LLC as court-appointed receiver (the “Receiver”) over all real

and personal property of the Debtor Richard M. Osborne, the Richard M. Osborne Trust, Junior

Properties, Ltd., Rigrotona Trust, Chowder Gas Storage Facility, LLC, Lake Shore Gas Storage,

Inc., Orwell-Trumbull Pipeline Co., LLC, Heisley Hopkins, Inc., Black Bear Realty, Ltd., and

Hamilton Parties, Inc. in the above-captioned case. Richard M. Bain, Kinsey McInturf, and the

law firm of Meyers, Roman, Friedberg & Lewis shall be substituted as and remain counsel of

record for the Receiver.

                                            Respectfully Submitted,

                                            /s/ Rachel L. Steinlage
                                            Richard M. Bain (0016525)
                                            Rachel L. Steinlage (0079450)
                                            T. Kinsey McInturf (0088103)
                                            MEYERS ROMAN FRIEDBERG & LEWIS
                                            28601 Chagrin Blvd., Suite 600
                                            Cleveland, OH 44122
                                            (216) 831-0042 / Fax: (216) 831-0542
                                            Email: rbain@meyersroman.com
                                                    kmcinturf@meyersroman.com
                                            Attorneys for Zak Burkons, Receiver



{01254916}


17-17245-aih      Doc 79    FILED 06/11/18      ENTERED 06/11/18 15:01:09          Page 1 of 2
                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 11, 2018, a true and correct copy of the
foregoing Notice of Substitution of Counsel was served via the Court’s Electronic Case Filing
System on these entities and individuals who are listed on the court’s Electronic Mail Notice
List:

       Gregory P. Amend gamend@bdblaw.com, grichards@bdblaw.com
       Sherri Lynn Dahl sdahl@dahllawllc.com
       Matthew H. Matheney mmatheney@bdblaw.com, bhajduk@bdblaw.com
       Nathaniel R. Sinn nsinn@bdblaw.com, kslatinsky@bdblaw.com
       Randolph L. Snow rsnow@bmsa.com
       United States Trustee (Registered address)@usdoj.gov
       Maria D. Giannirakis ust06 maria.d.giannirakis@usdoj.

and by regular U.S. Mail, postage prepaid, to: none.


                                                       /s/ Rachel L. Steinlage
                                                       Rachel L. Steinlage (0079450)




{01254916}


17-17245-aih     Doc 79     FILED 06/11/18      ENTERED 06/11/18 15:01:09              Page 2 of 2
